











			






IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-64,873-01






EX PARTE FRANCISCO LOPEZ HERNANDEZ, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS 


CAUSE NO. CR-2223-00-F 

IN THE 332ND DISTRICT COURT

HIDALGO COUNTY



		

		Per curiam.


	O R D E R



	This is an application for a writ of habeas corpus that was transmitted to this Court 
pursuant to the provisions of Tex. Code Crim. Proc. art. 11.07. Applicant was convicted of
the offense of delivery of cocaine, and punishment was assessed at confinement for ten years.
No direct appeal was taken.  

	Applicant contends that his sentence is illegal and that he is not the same person that
was convicted.  The trial court entered an order designating issues on May 16, 2006. On May
24, 2006, this Court received the application, but the designated issues have not yet been
resolved. We believe that the application was prematurely forwarded to this Court. Therefore,
it is this Court's opinion that additional facts need to be developed and because this Court
cannot hear evidence, the trial court is the appropriate forum. The trial court shall resolve
those issues as set out in Tex. Code Crim. Proc. art. 11.07, § 3 (d), in that it may order
affidavits, depositions, or interrogatories, or it may order a hearing. 

	If the trial court elects to hold a hearing, the court shall first decide whether Applicant
is indigent.  If the trial court finds that Applicant is indigent and Applicant desires to be
represented by counsel, the trial court shall then, pursuant to the provisions of Tex. Code
Crim. Proc. art. 26.04, appoint an attorney to represent him at the hearing.  

	Following receipt of additional information, the trial court shall make findings of fact
as to whether Applicant is serving an illegal sentence and whether or not he is the person
who was convicted of this offense.  The trial court shall also make any further findings of
fact and conclusions of law it deems relevant and appropriate to the disposition of the
application for writ of habeas corpus.

	Because this Court does not hear evidence, Ex Parte Rodriquez, 334 S.W.2d 294 (Tex.
Crim. App. 1960), these applications for a post-conviction writ of habeas corpus will be held
in abeyance pending the trial court's compliance with this order.  Resolution of the issues
shall be accomplished by the trial court within 90 days of the date of this order. (1)  A
supplemental transcript containing all affidavits and interrogatories or the transcription of the
court reporter's notes from any hearing or deposition, along with the trial court's
supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order. (2)

	IT IS SO ORDERED THIS THE 28TH DAY OF JUNE, 2006.






DO NOT PUBLISH                   

	
1.   In the event any continuances are granted, copies of the order granting the continuance
should be provided to this Court.
2.   Any extensions of this time period shall be obtained from this Court.


